Case 4:23-cv-00732-ALM-KPJ Document 104 Filed 08/23/24 Page 1 of 5 PageID #: 1575


                                                                          FILED
   IN THE UNITED STATES DISTRICT COURT,
   FOR THE EASTERN DISTRICT OF TEXAS,
                                                                            AUG 2 3 2024
   SHERMAN DIVISION                                                    CLERK, U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF TEXAS
   NELSON WILLIS,
   Plaintiff,

   V.



   ADAM M. ARON,
   Defendant.


   Case No.: 4:23-cv-00732-ALM
   AUGUST 23, 2024

   PLAINTIFF S MOTION FOR JUDICIAL NOTICE
   PLAINTIFF DECLARES:

   Adam M. Aron is solely and completely responsible for the insurmountable debt placed upon
   AMC Entertainment Holdings, INC. This insurmountable debt has enriched insiders and
   debtholders at the expense of common shareholders, necessitating a series of pernicious
   financial engineering schemes.

   I. Introduction

  Plaintiff Nelson Willis, proceeding pro se, submits this Motion for Judicial Notice pursuant to
  Federal Rule of Evidence 201. The Plaintiff requests the Court to take judicial notice of the
  egregious and severe misconduct by Adam M. Aron, whose actions have inflicted profound
  financial harm on AMC shareholders. The Plaintiff further emphasizes the extraordinary
  reluctance of judicial authorities to hold Aron accountable, despite over helming evidence of
  his orchestrated schemes to defraud and destroy shareholder value. The Plaintiff also
  references his Motion to Unseal Documents and Evidence (Document 52) in the cause of
  United States v. Sakoya Blackwood, United States District Court Southern District of New
  York, Case No. l:22-cr-00460-JMF, which seeks to unseal critical documents that expose
  further misconduct.

  II. Request for Judicial Notice

  Plaintiff requests that the Court take judicial notice of the following severe and indisputable
  facts, as fully detailed in Exhibit A:
Case 4:23-cv-00732-ALM-KPJ Document 104 Filed 08/23/24 Page 2 of 5 PageID #: 1576




   1. Adam M. Aron s Deliberate Financial Sabotage:
   • Adam M. Aron has intentionally burdened AMC Entertainment Holdings, INC. with an
   insurmountable debt that was never meant to be repaid. This debt has disproportionately
   benefited insiders and debtholders while devastating shareholders. Aron's actions are not
   accidental but part of a calculated scheme to set up the company for a hostile takeover, a
   move he has already facilitated through his reckless and self-serving decisions, as evidenced
   in Exhibit A.
   2. Systemic Judicial Reluctance:
   • Despite clear evidence of Adam M. Aron's wrongdoing, as outlined in Exhibit A, there has
   been a disturbing reluctance among the judiciary to prosecute him. This failure to act has
   emboldened Aron to continue his fraudulent activities, causing ongoing and irreparable harm
   to shareholders, including the Plaintiff.
   3. Complicity of Legal Counsel in Severe Misconduct:
   • The Defendant's legal counsel was fully aware of Aron's severe misconduct, including the
   transmission of sexually explicit material to a purportedly very young girl. Yet, they continued
   to represent him without disclosure, further eroding the integrity of the legal process and
   directly contributing to the procedural fraud in this case. This is further corroborated by the
   Plaintiff's Motion to Unseal Documents and Evidence (Document 52) in the cause of United
   States v. Sakoya Blackwood, United States District Court Southern District of New York, Case
   No. l:22-cr-00460-JMF, and fully detailed in Exhibit A.

   III. Argument in Support of Judicial Notice

   1. Establishing a Pattern of Severe and Pernicious Misconduct:
   • The facts presented are not isolated incidents but part of a deliberate and continuous
   pattern of extreme unethical and illegal behavior by Defendant Adam M. Aron. Judicial notice
   of these facts, including the direct evidence of severe financial exploitation, sexual
   misconduct, and the strategic imposition of insurmountable debt on AMC, is critical for the
   Court to understand the full extent of Aron's misconduct and its devastating impact on
   shareholders.
   2. Supporting Claims of Severe Procedural Fraud:
   • The Plaintiff's claims of severe procedural fraud are further substantiated by Aron's history
   of employing similar deceitful tactics in previous legal disputes. Judicial notice of these facts,
   along with the critical evidence sought in the Plaintiff's Motion to Unseal Documents and
   Evidence (Document 52), will provide the necessary context for assessing the Defendant's
   credibility and the veracity of the Plaintiff's claims.
   3. Preventing Further Abuse of the Judicial Process:
   • Given the systemic failure of judicial authorities to act against Adam M. Aron's severe
   misconduct, it is imperative that this Court take judicial notice of the patterns and evidence
   presented. Failure to do so will only enable further abuse of the judicial process and allow
   Aron to continue inflicting harm on shareholders with impunity.
Case 4:23-cv-00732-ALM-KPJ Document 104 Filed 08/23/24 Page 3 of 5 PageID #: 1577



   IV. Plaintiff is Officially Pressing Charges Against Adam M. Aron, AMC Board of Directors, and
   AMC Entertainment Holdings Inc.

   Plaintiff charges the Defendant with the following federal and state felony violations:

   Federal Charges

   1. Racketeer Influenced and Corrupt Organizations (RICO) Act Violations:
   • 18 U.S.C. § 1962(c): Engaging in racketeering activities by orchestrating a fraudulent scheme
   to issue and distribute preferred equity units (PEUs), manipulate shareholder votes, and
   execute a reverse stock split that defrauded AMC shareholders.
     18 U.S.C. § 1962(d): Conspiring with entities such as Citigroup and Antara Capital to
   manipulate the issuance and distribution of PEUs, in furtherance of the racketeering
   enterprise.
   2. Securities Fraud:
   • 15 U.S.C. § 78j(b) & 17 C.F.R. § 240.10b-5: Engaging in fraudulent practices by manipulating
   the issuance of PEUs and orchestrating a rigged shareholder vote to effectuate an illegal
   reverse stock split, deceiving investors and impacting the market price of AMC securities.
   3. Wire Fraud:
   • 18 U.S.C. § 1343: Using electronic communications to carry out the fraudulent scheme
   involving the issuance of PEUs, the illegal tender offer, and the rigged shareholder vote.
   4. Mail Fraud:
   • 18 U.S.C. § 1341: Executing a scheme to defraud shareholders by using the postal service to
   distribute misleading information about the PEUs and the shareholder vote.
   5. Fraudulent Conveyance:
   • 18 U.S.C. § 152(7): Fraudulently transferring 232 million PEUs to Antara Capital and other
   entities to manipulate the shareholder vote, thereby depriving Class A shareholders of their
   voting rights.
   6. Manipulation of Stock Prices:
   • 15 U.S.C. § 78i: Engaging in a scheme to manipulate the market price of AMC securities
   through the issuance of PEUs and the subsequent shareholder vote, artificially inflating or
   deflating the stock price for personal and institutional gain.
   7. Obstruction of Justice:
     18 U.S.C. § 1503: Obstructing, influencing, or impeding the judicial process by concealing
   the fraudulent nature of the PEU issuance and the rigged shareholder vote from the courts
   and regulatory authorities.
   8. False Statements:
   • 18 U.S.C. § 1001: Making false representations to the New York Stock Exchange and federal
   regulators regarding the legitimacy of the PEU issuance and the shareholder vote.

   State Charges (e.g., Texas)

   1. Securities Fraud (Texas):
Case 4:23-cv-00732-ALM-KPJ Document 104 Filed 08/23/24 Page 4 of 5 PageID #: 1578



   • Texas Securities Act, Article 581-29(C): Engaging in deceptive practices in the issuance and
   distribution of PEUs within Texas, including the manipulation of shareholder voting rights.
   2. Theft by Deception:
   • Texas Penal Code § 31.03: Unlawfully appropriating voting rights and shares by deceiving
   shareholders through the issuance of PEUs and the rigged shareholder vote.
   3. Fraudulent Concealment:
   • Texas Penal Code § 32.46: Fraudulently concealing the true nature and intent behind the
   PEU issuance and the subsequent reverse stock split from shareholders.
   4. Misapplication of Fiduciary Property:
   • Texas Penal Code § 32.45: Misapplying corporate assets and shareholder equity in
   furtherance of a fraudulent scheme that benefitted insiders and debtholders at the expense
   of Class A shareholders.
   5. Forgery:
   • Texas Penal Code § 32.21: Creating or altering documents related to the PEU issuance or the
   shareholder vote to mislead shareholders and regulatory bodies.

   Charges Related to Defrauding Courts and Shareholders

   1. Fraud on the Court:
   • Committing fraud in legal proceedings by submitting false information and documents to
   the courts regarding the legitimacy of the PEU issuance and the shareholder vote.
   2. Perjury (Federal and State):
   • Making materially false statements under oath in court proceedings related to the PEU
   issuance and the rigged shareholder vote, impacting the integrity of the judicial process.
   3. Contempt of Court:
     Engaging in conduct that disrespects or obstructs the authority, justice, and dignity of the
   court, particularly in relation to concealing the fraudulent activities surrounding the PEU
   issuance and the shareholder vote.

   Additional Charges Related to Fraudulent Conveyance and Securities Violations

   1. Fraudulent Conveyance:
     Engaging in the illegal transfer of PEUs to Antara Capital and other entities as part of a
   scheme to defraud Class A shareholders and manipulate the outcome of the shareholder
   vote.
   2. Insider Trading:
   • Trading AMC securities based on non-public, material information related to the issuance of
   PEUs and the rigged shareholder vote, in violation of fiduciary duties.

  V. Conclusion


  For the reasons stated above, Plaintiff respectfully requests that the Court grant this Motion
  for Judicial Notice and take judicial notice of the severe and deliberate misconduct
  perpetrated by Adam M. Aron, including the strategic imposition of insurmountable debt on
Case 4:23-cv-00732-ALM-KPJ Document 104 Filed 08/23/24 Page 5 of 5 PageID #: 1579



   AMC Entertainment Holdings, INC., the reluctance of the judiciary to prosecute such
   egregious behavior, and the relevance of the evidence from the United States v. Sakoya
   Blackwood case, as highlighted in the Plaintiffs Motion to Unseal Documents and Evidence
   (Document 52). By doing so, the Court will ensure that the full scope of the Defendant s
   severe and pernicious misconduct is considered, providing a solid foundation for the
   Plaintiff's claims and further supporting the motion for summary judgment.

   DATED: August 23, 2024

   Respectfully submitted,




    elson Willis
   Plaintiff Pro Se


   Exhibit A: Plaintiff's 254-page Statement of Facts, previously filed as Doc 26, Exhibit A.

   CERTIFICATE OF SERVICE

   I hereby certify that on August 23, 2024, a true and correct copy of the foregoing MOTION
   FOR JUDICIAL NOTICE was filed in person at the United States District Court for the Eastern
   District of Texas, Sherman Division. Notice of this filing will be sent to all counsel of record by
   the Court's electronic filing system.

   Respectfully submitted,




   Nelson Willis,
   Plaintiff Pro Se
